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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA

       vs                  4:03CR00302-03-WRW

ANDREW GREER

                        AMENDED AND SUBSTITUTED
                        JUDGMENT AND COMMITMENT

       The above entitled cause came on for a hearing on the petition

to revoke the supervised release granted this defendant.             Upon the

basis of the evidence presented, the Court found that the defendant

did violate conditions of his supervised release without just cause

on the marijuana violation.      The Court made no finding on the other

violations.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised

release granted this defendant be, and it is hereby, REVOKED.

       It is further ordered that the defendant be committed to the

custody of the Bureau of Prisons for imprisonment for a term of

nine (9) months. The defendant is to participate in residential or

nonresidential substance abuse treatment during incarceration.               A

term of supervised release of 3 years will follow incarceration.

All previously imposed conditions of supervised release will remain

in full force and effect.         The defendant is remanded into the

custody of the U.S. Marshal.

       IT IS SO ORDERED this 9th day of January, 2007.



                                            /s/ Wm. R.Wilson,Jr.
                                        UNITED STATES DISTRICT JUDGE

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